       Case 1:07-cr-00047-CG-WC                        Doc# 592            Filed 01/26/12               Page 1 of 1             PageID# 4365
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                      __________  District
                                                       Southern District of of __________
                                                                            Alabama

                    United States of America
                               v.                                           )
                                                                            )
                         AMANDA BOUIE
                                                                            ) Case No: 07-00047-012
                                                                            ) USM No: 09736-003
Date of Original Judgment:                            10/10/2007            )
Date of Previous Amended Judgment:                    10/12/2009            ) Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


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                           38568$177286& F 
        Upon motion of u   ✔  the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
,7,625'(5(' that the motion is:
           u DENIED. u✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 99                 months LVUHGXFHGWR 87 months                            .



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Except as otherwise provided, all provisions of the judgment dated                           10/10/2007            shall remain in effect.
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Order Date:                   1/26/2012                                                         /s/ Callie V. S. Granade
                                                                                                         Judge’s signature


Effective Date:                                                                               United States District Judge
                     (if different from order date)                                                    Printed name and title
